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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


THE UNITED STATES OF AMERICA,                      )
                                                   )
                     Plaintiff,                    )
v.                                                 )      4:19CR69-1
                                                   )
GILBERT BASALDUA,                                  )
                                                   )
        Defendant.                                 )


                                         ORDER

       Counsel in the above-captioned case have advised the Court that some pretrial motions

have been complied with and the issues raised in the following motions have been resolved by

agreement. The following motions filed in this case are DISMISSED AS MOOT:

       Doc. 103 First Motion for Bill of Particulars, and
       Doc. 105 First Motion to Make a Prima Facie Showing Existence of a Trade Secret.

       SO ORDERED, this 13th day of December 2019.


                                           ______________________________
                                            __________________
                                                         _   ____________
                                           CHRISTOPHER
                                           CHRISTOPHP ER L. RAY
                                           UNITED STATES MAGISTRATE JUDGE
                                           SOUTHERN DISTRICT OF GEORGIA
